           Case 2:06-cr-00197-RSL        Document 21      Filed 06/12/06    Page 1 of 3




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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )               CASE NO.      CR06-197 RSL
                                 )
12         v.                    )
                                 )
13                               )               DETENTION ORDER
    JOACHIN LUA LUCIO,           )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Conspiracy to Distribute Heroin
18 Date of Detention Hearing: June 9, 2006
19            The Court, having conducted an uncontested detention hearing pursuant to Title
20 18 U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for
21 detention hereafter set forth, finds that no condition or combination of conditions which the
22 defendant can meet will reasonably assure the appearance of the defendant as required and
23 the safety of any other person and the community. The Government was represented by
24 Douglass Whalley. The defendant was represented by Michael Kolker.
25 //                //            //
26


     DETENTION ORDER
     PAGE -1-
         Case 2:06-cr-00197-RSL     Document 21       Filed 06/12/06      Page 2 of 3




 1      FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2         (1)   There is probable cause to believe the defendant committed the drug
 3               offense. The maximum penalty is in excess of ten years. There is
 4               therefore a rebuttable presumption against the defendant’s release based
 5               upon both dangerousness and flight risk, under Title 18 U.S.C. §
 6               3142(e).
 7         (2)   Defendant represents a flight risk as he is a citizen of Mexico with no
 8               verifiable ties to the Western District of Washington. Defendant also
 9               represents a risk of danger due to his unknown substance abuse
10               problems.
11         (3)   The defendant does not contest detention at this time.
12         (4)   Based upon the foregoing information, which is consistent with the
13               recommendation of U.S. Pre-trial Services, it appears that there is no
14               condition or combination of conditions that would reasonably assure
15               future Court appearances and/or the safety of other persons or the
16               community.
17         It is therefore ORDERED:
18         (l)   The defendant shall be detained pending trial and committed to the
19               custody of the Attorney General for confinement in a correction facility
20               separate, to the extent practicable, from persons awaiting or serving
21               sentences or being held in custody pending appeal;
22         (2)   The defendant shall be afforded reasonable opportunity for private
23               consultation with counsel;
24         (3)   On order of a court of the United States or on request of an attorney for
25               the Government, the person in charge of the corrections facility in which
26               the defendant is confined shall deliver the defendant to a United States

     DETENTION ORDER
     PAGE -2-
         Case 2:06-cr-00197-RSL      Document 21      Filed 06/12/06     Page 3 of 3




 1               Marshal for the purpose of an appearance in connection with a court
 2               proceeding; and
 3         (4)   The clerk shall direct copies of this order to counsel for the United
 4               States, to counsel for the defendant, to the United States Marshal, and to
 5               the United States Pretrial Services Officer.
 6         DATED this 12th day of June, 2006.
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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
     PAGE -3-
